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                          UNITED STATES DISTRICT COURT
  14
                        CENTRAL DISTRICT OF CALIFORNIA
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  16   BMW OF NORTH AMERICA, LLC, a                Case No.: 2:18-cv-09147-PSG-E
  17
       Delaware Limited Liability Company,
       and BAYERISCHE MOTOREN                      [PROPOSED] PERMANENT
  18
       WERKE AG, a German Corporation,             INJUNCTION AND DISMISSAL
                                                   WITH PREJUDICE
  19
                  Plaintiff,
                                                   HON. PHILIP S. GUTIERREZ
  20
                  v.

  21
       FATIH BABA, an Individual; EREN
       BABA, an Individual; SEDA ROONEY
  22   a/k/a SEDA BABA, an Individual; and
       DOES 1-10, inclusive,
  23              Defendants.
  24
  25        The Court, pursuant to the Stipulation for Entry of Permanent Injunction
  26   against Defendants and Dismissal (“Stipulation”) by and between BMW OF
  27   NORTH AMERICA, LLC, and BAYERISCHE MOTOREN WERKE AG
  28   (collectively “BMW”), and Defendants FATIH BABA, EREN BABA, and SEDA

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                 [PROPOSED] PERMANENT INJUNCTION AND DISMISSAL
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   1   ROONEY a/k/a SEDA BABA (collectively “Defendants”), filed concurrently
   2   herewith, hereby ORDERS, ADJUDICATES and DECREES that a permanent
   3   injunction shall be and is hereby entered against Defendants in the above-
   4   referenced matter as follows:
   5         1.     PERMANENT INJUNCTION.                  Defendants and any person or
   6   entity acting in concert with, or at the direction of any of the Defendants,
   7   including any and all agents, servants, employees, partners, assignees, distributors,
   8   suppliers, resellers and any others over which any of the Defendants may exercise
   9   control, are hereby restrained and enjoined, pursuant to 15 United States Code
  10   (“U.S.C.”) § 1116, from engaging in, directly or indirectly, or authorizing or
  11   assisting any third party to engage in, any of the following activities in the United
  12   States and throughout the world:
  13                a.     copying, manufacturing, purchasing, importing, exporting,
  14   marketing, selling, offering for sale, distributing or dealing in any product or
  15   service that uses, or otherwise making any use of, any of BMW’s trademarks,
  16   including but not limited to, the BMW® word and design marks, the M® word
  17   and design marks, the BMW dual kidney-shaped automobile grille design marks,
  18   the MINI® word and design marks, and/or any intellectual property that is
  19   confusingly or substantially similar to, or that constitutes a colorable imitation of,
  20   any of BMW’s trademarks (collectively “BMW’s Trademarks’), whether such use
  21   is as, on, in or in connection with any trademark, service mark, trade name, logo,
  22   design, Internet use, website, domain name, metatags, advertising, promotions,
  23   solicitations, commercial exploitation, television, web-based or any other
  24   program, or any product or service, or otherwise;
  25                b.     performing or allowing others employed by, under control of,
  26   or representing Defendant, or under his control, to perform any act or thing which
  27   is likely to injure BMW or any of BMW’s Trademarks, specifically including but
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   1   not limited to the BMW®, M®, MINI®, and BMW dual kidney-shaped
   2   automobile grille.
   3                 c.     engaging in any acts of federal and/or state trademark
   4   infringement, false designation of origin, unfair competition, dilution, or other act
   5   which would tend damage or injure BMW; and/or
   6                 d.     using, owning, possessing, and/or controlling any Internet
   7   domain name or website that includes any of BMW’s Trademarks including but
   8   not limited to the BMW® word and design marks, the M® word and design
   9   marks, the BMW dual kidney-shaped automobile grille design marks, and the
  10   MINI® word and design marks.
  11         2.      Defendants are immediately ordered to deliver to counsel for BMW
  12   for destruction all unauthorized products, including counterfeit BMW®, M®-,
  13   MINI®-branded products, apparel, stickers, labels, signs, prints, packages,
  14   wrappers, receptacles and/or advertisements relating thereto in their possession or
  15   under their control bearing any of BMW’s Trademarks or any simulation,
  16   reproduction, counterfeit, copy or colorable imitations thereof, and all plates,
  17   molds, heat transfers, screens, matrices and other means of making the same, to
  18   the extent that any of these items are in Defendants’ possession.
  19         3.      This Permanent Injunction shall be deemed to have been served upon
  20   Defendants at the time of its execution by the Court.
  21         4.      The Court finds there is no just reason for delay in entering this
  22   Permanent Injunction, and, pursuant to Rule 54(a) of the Federal Rules of Civil
  23   Procedure, the Court directs immediate entry of this Permanent Injunction against
  24   Defendants.
  25         5.      Defendants will be making an agreed-upon payment to BMW, as
  26   more particularly described in a separate Confidential Settlement Agreement.
  27         6.      NO APPEALS AND CONTINUING JURISDICTION.                            No
  28   appeals shall be taken from this Permanent Injunction, and the parties waive all
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                   [PROPOSED] PERMANENT INJUNCTION AND DISMISSAL
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   1   rights to appeal. This Court expressly retains jurisdiction over this matter to
   2   enforce any violation of the terms of this Permanent Injunction by Defendants.
   3         7.     NO FEES AND COSTS. BMW and Defendants shall bear their
   4   own attorneys’ fees and costs incurred in this matter.
   5         8.     DISMISSAL WITH PREJUDICE. Upon entry of this Permanent
   6   Injunction against Defendants, this case shall be dismissed with prejudice.
   7         IT IS SO ORDERED, ADJUDICATED and DECREED this ______ day of
   8   June 2019.
   9
                                              _________________________________
  10                                          HON. PHILIP S. GUTIERREZ
  11                                          United States District Judge
                                              Central District of California
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                    [PROPOSED] PERMANENT INJUNCTION AND DISMISSAL
